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 6                       IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
 8
 9   Michael Reid, et al.,                          NO. CV-12-02661-PHX-ROS
10                 Plaintiffs,
                                                   JUDGMENT OF DISMISSAL IN A
11   v.
                                                   CIVIL CASE
12   I.C. System Incorporated,
13                 Defendant.
14
15          Decision by Court. This action came for consideration before the Court. The
16   issues have been considered and a decision has been rendered.
17          IT IS ORDERED AND ADJUDGED that pursuant to the Court’s order filed
18   August 28, 2018, the complaint and action are dismissed with prejudice.
19                                           Brian D. Karth
                                             District Court Executive/Clerk of Court
20
21   August 28, 2018
                                             s/ Rebecca Kobza
22                                      By   Deputy Clerk
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